                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 LAQUITA OLIVER and CHERELLE
 JACOB, on behalf of themselves and all
 others similarly situated,                        Case No. 23-cv-01731 (LMB) (WEF)

                               Plaintiffs,
                   v.

 NAVY FEDERAL CREDIT UNION,

                              Defendant.

 KRISTOFFER HICKS and MASHEESHA
 HOPPER, on behalf of themselves and all
 others similarly situated,                        Case No. 23-cv-01798 (LMB) (WEF)

                               Plaintiffs,
                   v.

 NAVY FEDERAL CREDIT UNION and
 JOHN DOES 1-20,

                              Defendants.

                 DEFENDANT NAVY FEDERAL CREDIT UNION’S
              RESPONSE TO PLAINTIFFS’ MOTION TO CONSOLIDATE
                ACTIONS AND APPOINT INTERIM CLASS COUNSEL

       Navy Federal Credit Union (“Navy Federal”) submits this response to Plaintiffs’ Motion

to Consolidate Oliver et al., v. Navy Federal Credit Union, 23-cv-01731 (“Oliver Action”) and

Hicks et al., v. Navy Federal Credit Union, et al., 23-cv-01798 (“Hicks Action”), and appointment

of Adam J. Levitt of DiCello Levitt LLP, Ben Crump of Ben Crump Law PLLC, and Hassan

Zavareei of Tycko & Zavareei LLP as interim class counsel on behalf of the putative class. See

Motion 1, Oliver et al. v. Navy Federal Credit Union, No. 1:23-cv-01731-LMB-WEF (E.D. Va.

December 29, 2023), ECF No. 9.



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       Navy Federal does not oppose consolidation of the Oliver and Hicks Actions and takes no

position on the appointment of interim class counsel.

       Navy Federal joins Plaintiffs’ request that all response deadlines in the Oliver and Hicks

Actions be held in abeyance pending the resolution of the Motion, and that Navy Federal's response

deadline be extended until 30 days after the filing of a consolidated complaint, except as noted

below. Mem. Supp. Mot. 1, Oliver et al. v. Navy Federal Credit Union, No. 1:23-cv-01731-LMB-

WEF (E.D. Va. December 29, 2023), ECF No. 10 at 11, fn. 4. The parties have conferred and

agreed that to the extent that 30 days after the filing of the consolidated complaint is earlier than

March 4, 2024 (the current response deadline in the Hicks action), the response deadline should be

set for March 4, 2024.

Dated: January 12, 2024                   Respectfully submitted,

                                          /s/ Michaela Wilkes Klein
                                          Ronald C. Machen (pro hac vice pending)
                                          Jonathan E. Paikin (pro hac vice pending)
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                                          Counsel for Defendant Navy Federal Credit Union


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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2024, I caused the foregoing to be filed electronically

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to counsel of record.



 Dated: January 12, 2024                       Respectfully Submitted,

                                               /s/ Michaela Wilkes Klein

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